     Case 2:24-cr-00091-ODW      Document 141 Filed 10/28/24       Page 1 of 22 Page ID
                                          #:1659



 1   DAVID C. WEISS
     Special Counsel
 2
     LEO J. WISE
 3   Principal Senior Assistant Special Counsel
     DEREK E. HINES
 4
     Senior Assistant Special Counsel
 5   SEAN F. MULRYNE
     CHRISTOPHER M. RIGALI
 6
     Assistant Special Counsels
 7         950 Pennsylvania Avenue NW, Room B-200
           Washington, D.C. 20530
 8
           Telephone: (771) 217-6090
 9         E-mail:      LJW@usdoj.gov, DEH@usdoj.gov
           E-mail:      SFM@usdoj.gov; CMR@usdoj.gov
10
           Attorneys for the United States
11
     Attorneys for Plaintiff
12   UNITED STATES OF AMERICA
13
14                          UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
     UNITED STATES OF AMERICA,                    No. CR 2:24-cr-00091-ODW
16
                Plaintiff,                        GOVERNMENT’S OPPOSITION TO
17                                                DEFENDANT’S MOTION TO COMPEL
                       v.
18                                                PRODUCTION OF DISCOVERY;
     ALEXANDER SMIRNOV,                           MEMORANDUM IN SUPPORT;
19                                                EXHIBITS IN SUPPORT
                Defendant.
20
                                                  Hearing Date:      November 18, 2024
21                                                Hearing Time:      10:00 a.m.
22                                                Location:          Courtroom of the Hon.
                                                                     Otis D. Wright II
23
24
           Plaintiff, the United States of America, by and through its counsel of record, hereby
25
     submits this Opposition to Defendant’s Motion to Compel Production of Discovery (ECF
26
     Nos. 136, 139).
27
28
     Case 2:24-cr-00091-ODW       Document 141 Filed 10/28/24        Page 2 of 22 Page ID
                                           #:1660



 1         The defendant’s motion to compel is factually and legally flawed, rambling and
 2   disorganized, and wholly unsupported by law. Rather than discuss specific discovery
 3   requests and why he believes he is entitled to specific discovery by analyzing his request
 4   under applicable precedent, the defendant simply copies and pastes paragraph numbers
 5   from his previous discovery letters, does not accurately explain what he believes he is still
 6   missing from those requests, and includes only a general discussion of the law governing
 7   discovery with hardly any analysis of his requests. As the moving party, the defendant
 8   fails to meet his burden. Because the government has complied and will continue to
 9   comply with its discovery obligations pursuant to Federal Rule of Criminal Procedure 16,
10   the Jencks Act, Giglio v. United States, 405 U.S. 150, 154 (1972), Brady v. Maryland, 373
11   U.S. 83 (1963), and related cases, the Court should deny the defendant’s motion.
12         This Opposition is based upon the attached memorandum of points and authorities,
13   the filings and records in this case, and any further argument as the Court may deem
14   necessary.
15   Dated: October 28, 2024                 Respectfully submitted,
16
                                             DAVID C. WEISS
17                                           Special Counsel
18
19                                           /s/
20
                                             LEO J. WISE
21                                           Principal Senior Assistant Special Counsel
22
                                             DEREK E. HINES
23                                           Senior Assistant Special Counsel
24
                                             SEAN F. MULRYNE
25                                           CHRISTOPHER M. RIGALI
26                                           Assistant Special Counsels

27                                           United States Department of Justice
28
     Case 2:24-cr-00091-ODW                Document 141 Filed 10/28/24                       Page 3 of 22 Page ID
                                                    #:1661



 1                                       Table of Contents
     I.     INTRODUCTION ................................................................................................... 1
 2
 3   II.    FACTUAL BACKGROUND.................................................................................. 1
 4   III.   LEGAL BACKGROUND ....................................................................................... 3
 5          A.       Discovery Under Rule 16 .............................................................................. 3
 6
            B.       The Jencks Act .............................................................................................. 5
 7
            C.       Brady and Giglio ........................................................................................... 6
 8
     IV.    ARGUMENT ........................................................................................................... 9
 9
10          A.       Several of the Defendant’s Requests Seek Discovery Materials that
                     Do Not Exist or Were Already Produced to the Defendant .......................... 9
11
                     1.       The government is not withholding any expert reports (Def.
12
                              Req. ¶ 7) ............................................................................................ 10
13
                     2.       The government is not withholding Giglio material for civilian
14                            witnesses and, in any event, such information is not
15                            discoverable until the witness testifies (Def. Req. ¶¶ 10, 19)........... 10
16                   3.       The government is not withholding any discovery related to the
                              defendant’s interactions with Burisma (Def. Req. ¶¶ 24–27)........... 10
17
18                   4.       The government is not withholding photos of the defendant’s
                              U.S. Passport (new request in Mot. at 7) .......................................... 11
19
                     5.       The government is not withholding electronic evidence prior to
20
                              2016 (Mot. at 6, 7) ............................................................................ 11
21
            B.       The Defendant’s Requests for Information Related to the Pittsburgh
22                   Assessment, the FD-1023, and Other Reporting are Moot or
23                   Premature..................................................................................................... 12
24                   1.       The government has already produced additional materials
                              related to the Pittsburgh Assessment and will produce
25
                              additional Jencks material at least one week before trial (Def.
26                            Req. ¶¶ 22, 23) .................................................................................. 12
27                   2.       The government will produce certain Jencks Act material for
28                            witnesses at least one week before trial (Def. Req. ¶ 38) ................. 12
     Case 2:24-cr-00091-ODW             Document 141 Filed 10/28/24                         Page 4 of 22 Page ID
                                                 #:1662



 1                3.       The government has produced other reports involving claims
                           made by the defendant that do not relate to entities or
 2
                           individuals involved in this case (Mot. at 8)..................................... 13
 3
          C.      The Defendant’s Remaining Requests Have No Basis in Law................... 14
 4
                  1.       The defendant’s request that the government state whether it
 5
                           believes documents produced as CIPA discovery are
 6                         responsive to his discovery requests is unfounded (Mot. at 6,
                           Def. Exh. 1 at 3) ................................................................................ 14
 7
 8                2.       The defendant’s request for return of his phone ignores that he
                           already has all the information in his phone (Mot. at 7-8) ............... 14
 9
                  3.       The defendant is not entitled to documents and
10
                           communications relating to the request to the U.S. Attorney’s
11                         team to assist with an investigation of allegations related to the
                           FD-1023 (Def. Req. ¶ 37) ................................................................. 15
12
13                4.       The defendant’s request for “positive independent
                           photographic identification of the FBI handler” is unfounded
14                         (Mot. at 8). ........................................................................................ 15
15
                  5.       U.S. Department of State records cited in a New York Times
16                         article are not discoverable and are a fishing expedition (Mot.
                           at 5).................................................................................................... 16
17
18   V.   CONCLUSION...................................................................................................... 16
19
20
21
22
23
24
25
26
27
28
      Case 2:24-cr-00091-ODW                  Document 141 Filed 10/28/24                     Page 5 of 22 Page ID
                                                       #:1663



 1                                                      Table of Contents
      Cases                                                                                                              Page(s)
 2
 3
     Beavers v. United States,
 4     351 F.2d 507 (9th Cir. 1965) ........................................................................................... 6
     Brady v. Maryland,
 5
       373 U.S. 83 (1963) .................................................................................................. 1, 3, 6
 6   Giglio v. United States,
       405 U.S. 150 (1972) .................................................................................................... 1, 6
 7
     Kaley v. United States,
 8     571 U.S. 320 (2014) ........................................................................................................ 3
 9   Smith v. Kemp,
       715 F.2d 1459 (11th Cir. 1983) ....................................................................................... 7
10   United States v. Armstrong,
11     517 U.S. 456 (1996) .................................................................................................... 4, 5
     United States v. Augurs,
12     427 U.S. 97 (1976) .......................................................................................................... 8
13   United States v. Bryan,
       868 F.2d 1032 (9th Cir. 1989) ........................................................................................ 7
14   United States v. Casas,
15     356 F.3d 104 (1st Cir. 2004) ............................................................................................ 8
     United States v. Chon,
16     210 F.3d 990 (9th Cir. 2000) ........................................................................................... 5
17   United States v. Cuthbertson,
       630 F.2d 139 (3rd Cir. 1980) ........................................................................................... 7
18   United States v. Fort,
19     472 F.3d 1106 (9th Cir. 2007) ......................................................................................... 4
     United States v. Griffin,
20     659 F.2d 932 (9th Cir. 1981) ........................................................................................... 8
21   United States v. Hancock,
       441 F.2d 1285 (5th Cir. 1971) ......................................................................................... 5
22   United States v. Kenny,
23     462 F.2d 1205 (3d Cir. 1972) .......................................................................................... 6
     United States v. Mandel,
24     914 F.2d 1215 (9th Cir. 1990) ......................................................................................... 4
25   United States v. Miller,
       529 F.2d 1125 (9th Cir. 1976) ......................................................................................... 6
26   United States v. Mincoff,
27     574 F.3d 1186 (9th Cir. 2009) ......................................................................................... 8

28
     Case 2:24-cr-00091-ODW                   Document 141 Filed 10/28/24                       Page 6 of 22 Page ID
                                                       #:1664



 1   United States v. Nagra,
      147 F.3d 875 (9th Cir. 1998) ........................................................................................... 6
 2
     United States v. Nixon,
 3    418 U.S. 683 (1974) .................................................................................................. 7, 10
     United States v. Ramos,
 4
      27 F.3d 65 (3rd Cir. 1994) ........................................................................................... 5, 8
 5   United States v. Rinn,
      586 F.2d 113 (9th Cir. 1978) ........................................................................................... 7
 6
     United States v. Santiago,
 7    46 F.3d 885 (9th Cir. 1995) ......................................................................................... 4, 8
 8   United States v. Stever,
      603 F.3d 747 (9th Cir. 2009) ........................................................................................... 4
 9   United States v. Stinson,
10    647 F.3d 1196 (9th Cir. 2011) ......................................................................................... 8
     United States v. Walk,
11    533 F.2d 417 (9th Cir. 1975) ........................................................................................... 5
12   United States v. Zavala,
      839 F.2d 523 (9th Cir. 1998) ........................................................................................... 6
13   United States v. Zuno-Arce,
14    44 F.3d 1420 (9th Cir. 1995) ........................................................................................... 6
     Weatherford v. Bursey,
15    429 U.S. 545 (1977) .................................................................................................... 3, 9
16
     Statutes
17   18 U.S.C. § 1001 ................................................................................................................. 1
18   18 U.S.C. § 1519 ................................................................................................................. 1
     18 U.S.C. § 3500 ......................................................................................................... 1, 4, 5
19
     Rules
20
21   Federal Rule of Criminal Procedure 16 ..................................................................... passim

22
23
24
25
26
27
28
     Case 2:24-cr-00091-ODW      Document 141 Filed 10/28/24       Page 7 of 22 Page ID
                                          #:1665



 1                  MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    INTRODUCTION
 3         On October 14, 2024, the defendant filed a motion to compel the production of
 4   discovery1 that seeks, among other items, discovery which he has already received,
 5   information to which he is not entitled under the law, or discovery to which he is not yet
 6   entitled pursuant to 18 U.S.C. § 3500 et seq. (the Jencks Act) or Giglio v. United States,
 7   405 U.S. 150, 154 (1972). Because the government has complied and will continue to
 8   comply with its discovery obligations pursuant to Federal Rule of Criminal Procedure 16,
 9   the Jencks Act, Giglio, Brady v. Maryland, 373 U.S. 83 (1963), and related cases, the
10   Court should deny the defendant’s motion.
11
12   II.   FACTUAL BACKGROUND
13         On February 14, 2024, the defendant was indicted for making false statements to
14   federal law enforcement, in violation of 18 U.S.C. § 1001 (Count One), and for causing
15   the creation of a false record in a federal investigation, in violation of 18 U.S.C. § 1519
16   (Count Two). The charges are based on false derogatory information that he provided in
17   2020 to the Federal Bureau of Investigation about Public Official 1, an elected official in
18   the Obama-Biden Administration who left office in January 2017, and Businessperson 1,
19   the son of Public Official 1. He provided this information about supposed conversations
20   that he had years earlier only after Public Official 1 became a candidate for President of
21   the United States.
22         The Indictment alleges that in June 2020 the defendant reported to his FBI handler,
23   for the first time, two meetings that occurred in 2015 and/or 2016, during the Obama-
24   Biden Administration, in which he claimed Burisma executives admitted to him that they
25   hired Businessperson 1 to “‘protect us, through his dad, from all kinds of problems,’” and
26
27         1
             The defendant filed the motion (ECF No. 136) and later filed the same motion
28   with redactions (ECF No. 139). The government responds to both motions in this
     opposition.
     Case 2:24-cr-00091-ODW       Document 141 Filed 10/28/24         Page 8 of 22 Page ID
                                           #:1666



 1   later that they had paid $5 million each to Public Official 1 and Businessperson 1, when
 2   Public Official 1 was still in office, so that “‘[Businessperson 1] will take care of all those
 3   issues through his dad,’” referring to a criminal investigation being conducted by the then-
 4   Ukrainian Prosecutor General into Burisma and to “‘deal with [the then-Ukrainian
 5   Prosecutor General].’” ECF No. 1 (Indictment) ¶¶ 6(b), 24, 26. The defendant also told
 6   his FBI handler about “two purported phone calls between himself and Burisma Official
 7   1 wherein Burisma Official 1 stated that he had been forced to pay Public Official 1 and
 8   Businessperson 1 and that it would take investigators 10 years to find records of illicit
 9   payments to Public Official 1.” Id. ¶¶ 6(c), 24, 35. Prior to those statements, the defendant
10   had expressed bias against Public Official 1 in a series of messages exchanged between
11   himself and his handler. See id. ¶¶ 8–21.
12         The Indictment alleges that the defendant knew that his statements about the
13   purported bribery payments were false (based on the defendant’s communications and
14   travel records, among other evidence), and that the defendant did not have contacts with
15   Burisma officials until the year 2017, “after the end of the Obama-Biden Administration
16   and after the then-Ukrainian Prosecutor General had been fired in February 2016, in other
17   words, when Public Official 1 had no ability to influence U.S. policy and when the
18   Prosecutor General was no longer in office.” Id. ¶ 6(d); see also id. ¶ 25 (timing of
19   payments according to the defendant), id. ¶¶ 29–32. The Indictment further alleges that
20   specific meetings and conversations claimed by the defendant, including the purported
21   bribery admissions made by Burisma officials, did not occur. See id. ¶ 31 (no statements
22   made by Burisma Official 2 during meeting at Burisma’s headquarters regarding the hiring
23   of Businessperson 1 to “‘protect us, through his dad, from all kinds of problems’”); id. ¶¶
24   33, 36 (no calls or meetings between Associate 1 and Burisma Official 1); id. ¶ 34 (no
25   travel to Vienna by the defendant during relevant period).
26         The government has complied with its discovery obligations to date and has made
27   eight discovery productions to the defendant. Among other items produced to the
28
                                                   2
     Case 2:24-cr-00091-ODW      Document 141 Filed 10/28/24        Page 9 of 22 Page ID
                                          #:1667



 1   defendant, the government has provided evidence that supports the charges in the
 2   Indictment and has produced Rule 16 materials. The government has also produced some
 3   early Jencks and Giglio materials even though the government previously advised the
 4   defendant that it would provide such materials one week before trial. Exh. 1 at p.1. The
 5   government is not withholding any Brady materials.
 6          By contrast, the government requested reciprocal discovery from the defendant in
 7   April; however, the defendant did not produce any discovery to the government until
 8   October 24, 2024, when he provided, for the first time, what purports to be an expert
 9   witness disclosure, six months after the government requested discovery and a little over
10   a month before trial. The government intends to move the Court to exclude this witness
11   from testifying. The government has not received any other discovery from the defendant.
12
13   III.   LEGAL BACKGROUND
14          The United States Supreme Court has held that defendants do not have a general
15   constitutional right to discovery in criminal cases. See Weatherford v. Bursey, 429 U.S.
16   545, 559 (1977) (“There is no general constitutional right to discovery in a criminal case,
17   and Brady v. Maryland, 373 U.S. 83 (1963)] did not create one.”); Kaley v. United States,
18   571 U.S. 320, 335 (2014). As discussed below, criminal discovery in this case is governed
19   primarily by Rule 16, the Jencks Act, and Giglio. The government is not withholding any
20   Brady material.
21          A.    Discovery Under Rule 16
22          Rule 16 of the Federal Rules of Criminal Procedure controls discovery in a criminal
23   case. Rule 16 allows a defendant to obtain discovery described in the rule before trial. The
24   defendant must show materiality under Rule 16(a)(1)(E)(i) to receive discovery of certain
25   documents and items described in the rule that are within the government’s control.
26          The Ninth Circuit has held that a defendant must make a prima facie showing of
27   materiality to support his request: “Neither a general description of the information sought
28
                                                  3
     Case 2:24-cr-00091-ODW      Document 141 Filed 10/28/24       Page 10 of 22 Page ID
                                          #:1668



 1   nor conclusory allegations of materiality suffice; a defendant must present facts which
 2   would tend to show that the Government is in possession of information helpful to the
 3   defense.” United States v. Mandel, 914 F.2d 1215, 1219 (9th Cir. 1990). To compel the
 4   government to produce discovery under Rule 16, a defendant must make a “threshold
 5   showing of materiality.” United States v. Stever, 603 F.3d 747, 752 (9th Cir. 2009) (citing
 6   United States v. Santiago, 46 F.3d 885 (9th Cir. 1995) (holding that a defendant must show
 7   “case specific facts which would demonstrate the materiality of the information sought”)).
 8         Additionally, Rule 16(a)(2) provides exceptions to the discovery requirements of
 9   Rule 16(a)(1)(E):
10         Except as permitted by Rule 16(a)(1)(A)-(D), (F), and (G), this rule does not
11         authorize the discovery or inspection of reports, memoranda, or other internal
12         government documents made by an attorney for the government or other
13         government agent in connection with investigating or prosecuting the case.
14         Nor does this rule authorize the discovery or inspection of statements made
15         by prospective government witnesses except as provided in 18 U.S.C. § 3500.
16         Pursuant to this rule, witness statements and law enforcement reports are exempt
17   from Rule 16 and not discoverable under Rule 16 even if material to preparing a defense.
18   See United States v. Fort, 472 F.3d 1106 (9th Cir. 2007). In United States v. Armstrong,
19   517 U.S. 456 (1996), the Supreme Court considered the parameters of Rule 16(a)(1)(C)
20   [now Rule 16(a)(1)(E)] and ruled that a defendant is entitled to the discovery of only those
21   materials that are material to the defendant’s response to the government’s case in chief:
22         While it might be argued that as a general matter, the concept of a ‘defense’
23         includes any claim that is a ‘sword,’ challenging the prosecution’s conduct
24         of the case, the term may encompass only the narrower class of ‘shield’
25         claims, which refute the Government’s arguments that the defendant
26         committed the crime charged. Rule 16(a)(1)(C) tends to support the ‘shield-
27         only’ reading. If ‘defense’ means an argument in response to the
28
                                                  4
     Case 2:24-cr-00091-ODW       Document 141 Filed 10/28/24      Page 11 of 22 Page ID
                                           #:1669



 1         prosecution’s case in chief, there is a perceptible symmetry between
 2         documents ‘material to the preparation of the defendant’s defense,’ and, in
 3         the very next phrase, documents ‘intended for use by the government as
 4         evidence in chief at the trial.’
 5   Id. at 462; see also United States v. Chon, 210 F.3d 990, 995 (9th Cir. 2000) (quoting
 6   Armstrong).
 7         Despite the defendant’s apparent belief to the contrary, Rule 16 is not the equivalent
 8   of a “request for production” in a civil suit, in that the defendant is not entitled to all
 9   documents that might lead the defendant to relevant evidence. See Chon, 210 F.3d at 995
10   (defendants only entitled to materials relevant to the specific charges); United States v.
11   Ramos, 27 F.3d 65, 67 (3rd Cir. 1994) (criminal and civil discovery “vastly different”);
12   United States v. Hancock, 441 F.2d 1285, 1287 (5th Cir. 1971) (criminal discovery
13   “narrower” than civil discovery). Were it to be adopted, the defendant’s view of Rule 16
14   would lead to an unprecedented expansion of the scope of criminal discovery.
15         B.      The Jencks Act
16         In addition to Rule 16, discovery in a criminal case is also governed by statute and
17   case law. For example, the Jencks Act, set forth in 18 U.S.C. § 3500, deals with the issue
18   of when witness “statements” must be disclosed to a defendant. Section 3500(a) provides
19   as follows:
20         In any criminal prosecution brought by the United States, no statement or
21         report in the possession of the United States which was made by a
22         Government witness (other than the defendant) shall be the subject of a
23         subpoena, discovery, or inspection until said witness has testified on direct
24         examination in the trial of the case.
25   18 U.S.C. § 3500; United States v. Walk, 533 F.2d 417, 419 (9th Cir. 1975) (Under Jencks
26   Act, “witness statements may not be discovered until the witness has testified on direct
27   examination.”). The Jencks Act does not conflict with Rule 16, because Rule 16 expressly
28
                                                   5
     Case 2:24-cr-00091-ODW       Document 141 Filed 10/28/24        Page 12 of 22 Page ID
                                           #:1670



 1   excludes witness statements from its scope. Fed. R. Crim. P. 16(a)(2) (“Nor does this rule
 2   authorize the discovery or inspection of statements made by prospective government
 3   witnesses, except as provided in 18 U.S.C. § 3500.”); see also United States v. Kenny, 462
 4   F.2d 1205 (3d Cir. 1972). The Jencks Act only applies to statements of witnesses that are
 5   in the actual custody and control of the government. See Beavers v. United States, 351
 6   F.2d 507, 509 (9th Cir. 1965). As explained below, the majority of the defendant’s requests
 7   are for Jencks materials, but the government has already advised the defendant it will
 8   provide additional Jencks materials at least one week before trial, and thus the defendant’s
 9   request is simply premature.
10         C.     Brady and Giglio
11         Beyond Rule 16 and the Jencks Act, the Constitution imposes certain disclosure
12   obligations on the government in criminal cases. In Brady v. Maryland, the Supreme Court
13   held that the government must disclose “evidence favorable to an accused . . . where the
14   evidence is material either to guilt or to punishment.” 373 U.S. at 87. The failure to
15   disclose such evidence to a defendant violates due process, “irrespective of the good faith
16   or bad faith of the prosecution.” Id. The government is not responsible for producing Brady
17   material that it does not know about that is in the custody of third parties. United States v.
18   Zavala, 839 F.2d 523, 528 (9th Cir. 1998). In Giglio v. United States, the Supreme Court
19   held that Brady material includes material that might be used to impeach key government
20   witnesses. 405 U.S. at 154. Brady and Giglio material are conceptually different kinds of
21   evidence: “Giglio material” being the label for impeachment evidence, and “Brady
22   material” being the label for every other kind of evidence that could be helpful to the
23   defendant’s efforts to create a reasonable doubt, i.e., “exculpatory evidence.”
24         Moreover, the timing of disclosure of Brady and Giglio material also varies. For
25   example, with respect to Brady material, the Ninth Circuit has held that such material
26   should be disclosed before trial, United States v. Nagra, 147 F.3d 875, 881 (9th Cir. 1998),
27   when the defense can make practical use of the material. United States v. Zuno-Arce, 44
28
                                                   6
     Case 2:24-cr-00091-ODW      Document 141 Filed 10/28/24        Page 13 of 22 Page ID
                                          #:1671



 1   F.3d 1420, 1427 (9th Cir. 1995); see also United States v. Miller, 529 F.2d 1125 (9th Cir.
 2   1976) (if exculpatory evidence can be effectively presented at trial and the defendant is
 3   not prevented by lack of time to make necessary investigation, there is no grounds for
 4   reversal from belated disclosure).
 5         On the other hand, Giglio material “ripens into evidentiary material for purposes of
 6   impeachment only if and when the witness testifies at trial.” United States v. Cuthbertson,
 7   630 F.2d 139, 144 (3rd Cir. 1980); see also United States v. Nixon, 418 U.S. 683, 701
 8   (1974) (“Generally, the need for evidence to impeach witnesses is insufficient to require
 9   its production in advance of trial.”); Smith v. Kemp, 715 F.2d 1459, 1467 (11th Cir. 1983)
10   (“The thrust of Giglio and its progeny has been to ensure that the jury knows the facts that
11   might motivate a witness in giving testimony[.]”). Indeed, the Ninth Circuit has held that
12   “information concerning ‘favor[s] or deals’ merely goes to the credibility of the witness,
13   [and] it [therefore] need not be disclosed prior to the witness testifying.” United States v.
14   Rinn, 586 F.2d 113, 119 (9th Cir. 1978).
15         Importantly, Giglio does not extend to potential impeachment material found
16   anywhere in the vast custody of the federal government, but rather it specifically applies
17   to material that is in the possession of federal agencies connected with the investigative
18   and prosecution team, in this case, the FBI and the Special Counsel’s Office. For virtually
19   every witness who testifies, the Executive Branch maintains information that might
20   contain Giglio or Brady: tax returns, passport applications, social security files, Medicare
21   submissions, immigration records, background checks, bank records of FDIC run
22   institutions, etc. Courts, including the Ninth Circuit, do not require the prosecution team
23   to search records that are afield of the investigation and prosecution. The prosecution is
24   only deemed to “have knowledge of and access to anything in the possession, custody or
25   control of any federal agency participating in the same investigation of the defendant.”
26   United States v. Bryan, 868 F.2d 1032,1036 (9th Cir. 1989)(Rule 16 context). Courts,
27   therefore, examine whether information is within the prosecution’s control by considering
28
                                                  7
     Case 2:24-cr-00091-ODW       Document 141 Filed 10/28/24        Page 14 of 22 Page ID
                                           #:1672



 1   whether the prosecution has “knowledge and access” to the information in question,
 2   looking closely at the relationship between the information sought and the prosecution’s
 3   (as opposed to the government’s) connection to it. Santiago, 46 F.3d at 893; accord United
 4   States v. Casas, 356 F.32d 104, 115-16 (1st Cir. 2004) (no Brady violation when a
 5   cooperators’ immigration file contained perjured information because immigration file
 6   was not in prosecution team’s control).
 7         Finally, a defendant may not demand documents that are not otherwise discoverable
 8   under Rule 16 or Giglio by making unsupported claims that they might contain Brady or
 9   Giglio materials. Mere speculation is not a sufficient basis to create a discovery obligation.
10   If it were, the government’s discovery obligations would be bound by opposing counsel’s
11   imagination and not the rules. “The mere possibility that an item of undisclosed
12   information might have helped the defense, or might have affected the outcome of the
13   trial, does not establish ‘materiality’ in the constitutional sense.” United States v. Griffin,
14   659 F.2d 932, 939 (9th Cir. 1981) (citing United States v. Augurs, 427 U.S. 97 (1976)). In
15   Griffin, the defendant demanded the notes taken by agents of his interviews. The defendant
16   offered nothing more than speculation that the missing records might contain Brady or
17   Giglio. The Ninth Circuit held that this speculation was insufficient to sustain a discovery
18   violation. Id.; see also United States v. Ramos, 27 F.3d 65, 70 (3rd Cir. 1994) (“We think
19   it unwise to infer the existence of Brady material based upon speculation alone.”). “[M]ere
20   speculation about materials in the government's files [does] not require the district court
21   to make those materials available, or mandate an in camera inspection.” United States v.
22   Mincoff, 574 F.3d 1186, 1200 (9th Cir. 2009). Additionally, Brady, Giglio, and its progeny
23   do not require the government to disclose neutral, irrelevant, or speculative, evidence. See,
24   e.g., United States v. Stinson, 647 F.3d 1196, 1208 (9th Cir. 2011).
25
26
27
28
                                                   8
     Case 2:24-cr-00091-ODW      Document 141 Filed 10/28/24       Page 15 of 22 Page ID
                                          #:1673



 1   IV.   ARGUMENT
 2         The defendant’s motion to compel is factually and legally flawed, rambling and
 3   disorganized, and wholly unsupported by law. Rather than discuss specific discovery
 4   requests and why he believes he is entitled to specific discovery by analyzing his request
 5   under applicable precedent and case law, the defendant simply copies and pastes paragraph
 6   numbers from his previous discovery letters, does not accurately explain what he believes
 7   he is still missing from those requests, and includes only a general discussion of the law
 8   governing discovery without any specific analysis of his requests. In other words, he
 9   appears to be attempting to flip his burden onto the government by baldly alleging he did
10   not receive certain discovery, and seeing whether the government points him to the
11   information he is seeking in what it has already produced or analyzes why his request is
12   not actually discoverable under the law. See Mot. at 12 (“These principles require the
13   government not only to look at Mr. Smirnov’s discovery requests, but to comply with them
14   in good faith and then provide any responsive discovery.”). But, as discussed above, that
15   is not the law in a criminal case. See Weatherford, 429 U.S. at 559. As the moving party,
16   the defendant falls far short of attempting to meet his burden in his motion and the Court
17   should deny his motion on that basis alone. Nonetheless, the government has attempted to
18   organize and decipher each of his discovery requests below and explain why he is not
19   entitled to such discovery, or why such requests are already fulfilled or are premature
20   because Jencks or Giglio materials will be produced at least one week prior to trial.
21         A.     Several of the Defendant’s Requests Seek Discovery Materials that Do
                  Not Exist or Were Already Produced to the Defendant
22
23         In at least nine of his requests, the defendant demands information that does not
24   exist even though the government has repeatedly advised defense counsel that it has
25   complied with its discovery obligations.
26
27
28
                                                 9
     Case 2:24-cr-00091-ODW      Document 141 Filed 10/28/24       Page 16 of 22 Page ID
                                          #:1674



 1                 1.    The government is not withholding any expert reports (Def. Req. ¶ 7)
 2          The defendant’s motion seeks reports of physical/mental examinations, scientific
 3   tests, and expert reports pursuant to Rule 16(a)(1)(F), (G). Mot. at 5, ¶ 7., Def. Exh. 2, ¶
 4   7. The government is not aware of any such reports and does not anticipate calling any
 5   experts at trial.
 6                 2.    The government is not withholding Giglio material for civilian
                         witnesses and, in any event, such information is not discoverable until
 7
                         the witness testifies (Def. Req. ¶¶ 10, 19)
 8
            The defendant’s motion seeks impeachment materials for civilian witnesses, which
 9
     are discoverable under Giglio. Mot. at 5, ¶¶ 10, 19., Def. Exh. 2, ¶¶ 10, 19. Although the
10
     government agreed to produce Giglio materials at least one week before trial, the deadline
11
     for producing such materials is not until the witness testifies. Nixon, 418 U.S. at 701.
12
     Nonetheless, the government is not withholding any Giglio for civilian witnesses but will
13
     produce such information at least one week before trial if it becomes aware of any such
14
     Giglio information.
15
                   3.    The government is not withholding any discovery related to the
16                       defendant’s interactions with Burisma (Def. Req. ¶¶ 24–27)
17
            The defendant’s motion cites four requests related to Burisma, Mot. at 5, Def. Exh.
18
     2, ¶¶ 24–27, but discusses only one of them: “[t]he only item that appears responsive
19
     regarding communications between AS and Associate 2 are some emails, texts and travel
20
     records; none of these, however, appear to relate to interaction with Burisma officials.”
21
     Mot. at 5. As the defendant admits, the government has already produced communications
22
     involving Associate 2 related to Burisma. While the defendant contends none of those
23
     communications “appear to relate to interaction with Burisma officials,” the government
24
     is not withholding communications between the defendant and Associate 2 that “appear to
25
     relate to interaction with Burisma officials.” Indeed, the indictment alleges that the
26
     defendant falsely described various interactions related to Burisma. It is not surprising,
27
     therefore, that there is no evidence that supports his fabrications. In any event, the
28
                                                 10
     Case 2:24-cr-00091-ODW        Document 141 Filed 10/28/24     Page 17 of 22 Page ID
                                            #:1675



 1   defendant concedes that this request is for impeachment material, see Mot. at 14, and the
 2   government will produce any such Giglio materials that it discovers that are responsive to
 3   this category at least one week before trial.
 4                 4.     The government is not withholding photos of the defendant’s U.S.
                          Passport (new request in Mot. at 7)
 5
 6          Although he does not cite any prior request to the government for his old passport,
 7   the defendant makes a misleading claim in his motion that “[t]he government has not
 8   provided complete photos of AS’s full USA passport book.” Mot. at 7. The government
 9   seized the defendant’s U.S. Passport that he maintained at his residence, copied all of its
10   pages, and produced copies of those pages. The defendant received this complete copy in
11   production 6. See USA-XX-XXXXXXX et seq. This Passport was issued March 6, 2020, and
12   is the only U.S. Passport that the government obtained from the defendant. The
13   government has also produced to the defendant electronic evidence from his iCloud
14   account and iPhone, and messages between the defendant and the Handling Agent from
15   the Handling Agent’s phones. Some of these messages include photos that the defendant
16   took of his own, older passport. The government is not withholding copies of an older U.S.
17   Passport. Additionally, the government produced records of the defendant’s travel prior to
18   2020 that were obtained from independent government databases. See USA-06-00003101
19   et seq. The fact that none of his travel records corroborates the defendant’s account does
20   not mean that the government is withholding evidence; rather, it shows the defendant did
21   not tell the truth about his travels.
22                 5.     The government is not withholding electronic evidence prior to 2016
                          (Mot. at 6, 7)
23
            The defendant falsely claims that he has not received any evidence of
24
     communications between the defendant and his Handling Agent “dating from before
25
     2016.” Mot. at 7. He also falsely claims that he is missing electronic media he created
26
     before 2016. Id. These inaccurate claims show that the defendant has not examined the
27
     materials the government produced for his iCloud account and iPhone, which include
28
                                             11
     Case 2:24-cr-00091-ODW      Document 141 Filed 10/28/24        Page 18 of 22 Page ID
                                          #:1676



 1   messages between the defendant and his Handling Agents dating back to 2014, as well as
 2   all other electronic evidence (including photos and videos) that was imaged from the
 3   defendant’s phone and was “created before 2016”. The government is not withholding
 4   pre-2016 electronic media evidence from the defendant’s phone or iCloud account, or
 5   from the Handling Agent’s phones—the defendant has what the government has.
 6         B.     The Defendant’s Requests for Information Related to the Pittsburgh
                  Assessment, the FD-1023, and Other Reporting are Moot or Premature
 7
 8                1.     The government has already produced additional materials related to
                         the Pittsburgh Assessment and will produce additional Jencks material
 9                       at least one week before trial (Def. Req. ¶¶ 22, 23)
10
           In their motion, the defense incorrectly references paragraph 12 of their letter but
11
     appears to be referring to paragraph 22 of their letter based on their description, “We do
12
     not see this assessment.” Mot. at 5., Def. Exh. 2 at ¶ 12. Request 22 of their letter states,
13
     “We request a copy of FBI Pittsburgh’s assessment, 58A-PG-3250958, mentioned in the
14
     Indictment at para. 22.” Additionally, the defendant requests, in Request 23 of their letter,
15
     “any and all records and communications between FBI Pittsburgh and/or USAO WDPA
16
     and/or the Handler mentioned in the Indictment and/or otherwise related to Mr. Smirnov.”
17
     Although the government previously indicated it would provide Jencks and Giglio
18
     materials one week before trial, since the filing of their motion, the government has made
19
     available to the defense material from the Pittsburgh assessment that relates to the
20
     defendant. This material includes information related to both of their requests, 22 and 23.
21
     Additional Jencks material related to request 23, involving communications of testifying
22
     law enforcement officers, will be produced at least one week prior to trial, if such
23
     communications exist.
24
                  2.     The government will produce certain Jencks Act material for witnesses
25                       at least one week before trial (Def. Req. ¶ 38)
26         The defendant requested “communications referring or relating to the investigation
27   of Mr. Smirnov’s alleged allegations documented in an FD-1023,” and, although he admits
28
                                                  12
     Case 2:24-cr-00091-ODW      Document 141 Filed 10/28/24       Page 19 of 22 Page ID
                                          #:1677



 1   that some of this Jencks material has already been produced, he states “there appears to be
 2   more communications on this topic that has not been produced.” Mot. at 5., Def. Exh. 2, ¶
 3   38. The defendant fails to specify what he believes is missing and, as such, fails to meet
 4   his burden. Nonetheless, if there are additional communications involving the
 5   government’s witnesses that are discoverable pursuant to the Jencks Act, these
 6   communications will be produced at least one week prior to trial.
 7                3.    The government has produced other reports involving claims made by
                        the defendant that do not relate to entities or individuals involved in
 8
                        this case (Mot. at 8)
 9
           In his motion, the defendant, without citing a prior request to the government,
10
     demands reports of claims made by the defendant involving individuals and entities who
11
     are not witnesses or otherwise involved in this case. Mot. at 8. Since the filing of his
12
     motion, the government has produced numerous unclassified FBI Form 1023s that
13
     document information/allegations made by the defendant about other individuals and
14
     entities. These include 1023s for the years 2010 to 2024, which would necessarily include
15
     third parties that Mr. Smirnov “reported on.” The government therefore believes this
16
     request is largely moot, with the exception of the defendant’s unfounded request for “full
17
     names, contact information, aliases, and the complete contents of any official files or
18
     investigations (by the FBI or any other government entity) concerning such third parties”
19
     that the defendant reported on. The defendant offers no authority in support of this request
20
     in his motion; the government could not locate any such authority; and the defendant,
21
     therefore, has failed to meet his burden, because information about these other individuals
22
     derived by law enforcement has no relevance in this matter and is not discoverable.
23
24
25
26
27
28
                                                 13
     Case 2:24-cr-00091-ODW      Document 141 Filed 10/28/24       Page 20 of 22 Page ID
                                          #:1678



 1         C.     The Defendant’s Remaining Requests Have No Basis in Law
 2                1.    The defendant’s request that the government state whether it believes
 3                      documents produced as CIPA discovery are responsive to his
                        discovery requests is unfounded (Mot. at 6, Def. Exh. 1 at 3)
 4
           The defendant demands that the government notify the defendant if any CIPA-
 5
     related discovery is responsive to his discovery requests. Mot. at 6, Def. Exh. 1 at 3. To
 6
     be clear, the government produced a limited amount of classified discovery to the
 7
     defendant prior to his filing of the motion, and the defendant reviewed those materials.
 8
     The production is less than 20 pages. The defendant cites no precedent in support of his
 9
     request that the government essentially do the defense lawyer’s work to analyze the
10
     documents. It is not incumbent on the government to analyze the documents and tell
11
     defense counsel how they relate to the defendant’s discovery requests. His precedent-less
12
     demand is unfounded. 2
13
                  2.    The defendant’s request for return of his phone ignores that he already
14
                        has all the information in his phone (Mot. at 7-8)
15
           The defendant requests that the government return his physical iPhone for him to
16
     review because “Mr. Smirnov reasserts that he requires the physical phone to provide the
17
     date, times and context for the videos and voice messages exchanged with his handler.”
18
     Mot. at 8. The defendant’s motion fails to disclose that he has already received the
19
     electronic evidence from his device and iCloud account in discovery, and this electronic
20
     evidence shows dates, times and context for the videos. Further, the government provided
21
     a software program called Axiom Portable Case that allows the defense to easily review,
22
     search, code and process the data from the defendant’s phone. The defendant fails to cite
23
     any authority that requires the government to also provide his physical phone. Indeed, his
24
25         2
             To the extent the defendant is seeking additional classified information to satisfy
26   his discovery requests in his motion, the defendant is well aware that the government filed
     a motion, pursuant to CIPA Section 4 and Federal Rule of Criminal Procedure 16(d)(1),
27   seeking certain relief regarding classified information. The Court granted the
28   government’s motion.
                                                  14
     Case 2:24-cr-00091-ODW      Document 141 Filed 10/28/24       Page 21 of 22 Page ID
                                          #:1679



 1   physical phone is a piece of evidence in this case and its integrity must be maintained.
 2   Because the defendant has already received the information on his phone, he is not entitled
 3   to receive the physical phone itself.
 4                3.     The defendant is not entitled to documents and communications
                         relating to the request to the U.S. Attorney’s team to assist with an
 5
                         investigation of allegations related to the FD-1023 (Def. Req. ¶ 37)
 6
           The defendant’s motion seeks “documents and communications referring or relating
 7
     to the request to U.S. Attorney’s team to ‘assist’ with ‘an investigation of allegations’
 8
     related to the FD-1023.” Mot. at 5, ¶ 37, Def. Exh. 2, ¶ 37. The government is not in
 9
     possession of any Brady material related to this request. The defendant offers no authority
10
     or analysis in his motion related to this request. Rule 16(a)(2) expressly prohibits the
11
     defendant from obtaining these materials (“. . . this rule does not authorize the discovery
12
     or inspection of reports, memoranda, or other internal government documents made by an
13
     attorney for the government or other government agent in connection with investigating
14
     or prosecuting the case”). Rule 16(a)(2) should be followed, and consequently, the
15
     defendant is not entitled to these materials.
16
                  4.     The defendant’s request for “positive independent photographic
17                       identification of the FBI handler” is unfounded (Mot. at 8).
18
           In his motion, the defendant raises another request that he has not previously raised
19
     with the government—that is, he requests “positive independent photographic
20
     identification of the FBI handler for Mr. Smirnov.” Mot. at 8. The defendant claims that
21
     the identification is necessary for “Mr. Smirnov to be able to identify his handler in Mr.
22
     Smirnov’s photos and to document the course of dealings, travel, and relationship between
23
     the two.” Id. The defendant fails to cite any authority in support of this request and the
24
     government could not find any. Although the government doubts his claim is true, if the
25
     defendant can no longer remember what his FBI handler looks like after a 13-year
26
     relationship, that fact does not permit him to receive a photograph of his handler. The
27
28
                                                     15
     Case 2:24-cr-00091-ODW      Document 141 Filed 10/28/24       Page 22 of 22 Page ID
                                          #:1680



 1   government will not accommodate this request because it has no basis in law and it
 2   jeopardizes the safety of law enforcement.
 3                5.    U.S. Department of State records cited in a New York Times article
                        are not discoverable and are a fishing expedition (Mot. at 5)
 4
 5         In a letter dated August 28, 2024, the defendant seeks State Department records
 6   cited in a New York Times article. Mot. at 5, Def. Exh. 4 at 2. On August 13, 2024, the
 7   New York Times published an article titled “Hunter Biden Sought State Department Help
 8   for Ukrainian Company.” Def. Exh. 2. The article, which is attached as Exhibit 2, does not
 9   mention the defendant or the false statements he made to his Handling Agent. Instead,
10   according to the article, “Hunter Biden sought assistance from the U.S. government for a
11   potentially lucrative energy project in Italy while his father was vice president, according
12   to newly release records and interviews.” Def. Exh. 2 at 1 (emphasis added). Among other
13   reasons, this request should be denied is because the State Department is not part of the
14   prosecution team, and the defendant does not (and cannot) allege otherwise. Beyond that,
15   this request is a fishing expedition and has nothing to do with the defendant’s false
16   statements. The defendant is not alleged to have made any false statements related to “a
17   potentially lucrative energy project in Italy.” The defendant did not claim that any of the
18   referenced individuals or entities in Italy or the U.S. government were parties to the
19   conversations that he fabricated about Burisma, a Ukrainian business entity. Records and
20   information that may be in the possession of the State Department and relate to a
21   potentially lucrative energy project in Italy have no relevance in this case. They are not
22   discoverable and are simply an effort by the defense to cause the government to embark
23   on a fishing expedition. The defendant fails to meet his burden in his motion.
24
25   V.    CONCLUSION

26         For the reasons set forth above, the Court should deny the defendant’s motion to
27   compel discovery (ECF Nos. 136, 139).
28
                                                  16
